Case: 1:21-cv-04890 Document #: 1-1 Filed: 09/15/21 Page 1 of 31 PageID #:9




       EXHIBIT A
Case: 1:21-cv-04890 Document #: 1-1 Filed: 09/15/21 Page 2 of 31 PageID #:10

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/16/2021
                                                                                                    CT Log Number 540080396
TO:         Tara Mackey
            AZZ Incorporated
            3100 W 7th St Ste 500, One Museum Place
            Fort Worth, TX 76107-8701

RE:         Process Served in Illinois

FOR:        AAA-Galvanizing - Peoria, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  John Hancock, Pltf. vs. AAA Galvanizing - Peoria, Inc. and AZZ, Inc, Dfts.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 2021L000612
NATURE OF ACTION:                                 Employee Litigation
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Chicago, IL
DATE AND HOUR OF SERVICE:                         By Process Server on 08/16/2021 at 12:25
JURISDICTION SERVED :                             Illinois
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 08/16/2021, Expected Purge Date:
                                                  08/21/2021

                                                  Image SOP

                                                  Email Notification, Tara Mackey taramackey@azz.com

                                                  Email Notification, Mary Jackson MaryJackson@azz.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  208 South LaSalle Street
                                                  Suite 814
                                                  Chicago, IL 60604
                                                  866-665-5799
                                                  SouthTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / VS
            Case: 1:21-cv-04890 Document #: 1-1 Filed: 09/15/21 Page 3 of 31 PageID #:11


                                                                     g Wolters Kluwer
                              PROCESS SERVER DELIVERY DETAILS




Date:                           Mon, Aug 16, 2021

Server Name:                    Sheriff Drop




Entity Served                   AAA GALVANIZING OF PEORIA INC

Case Number                     2021L000612

J urisdiction                   IL •




   P                                     P 11
                  Case:
          ' This form     1:21-cv-04890
                      is approved            Document
                                  by the Illinois         #: 1-1and
                                                  Supreme Court  Filed:   09/15/21
                                                                    is required to be Page  4 of
                                                                                      accepted    31Illinois
                                                                                               in all PageID     #:12
                                                                                                             Circuit Courts.
                                                                                                                                                                  For Cowl Use Only
             STATE OF ILLINOIS,
              CIRCUIT COURT
                                                                                          SUMMONS
      Will                        COUNTY

      Instructions
  Enter above the
  county name where
  the case was filed.             John Hancock
 Enter your name as                Plaintiff / Petitioner (First, middle, last name)
 Plaintiff/Petitioner.
  Enter the names of all
  people you are suing as          V.
  Defendants/
  Respondents.
  Enter the Case                  AAA Galvanizing - Peoria, Inc. and AZZ, Inc.                                                                                          2021L 000612
  N umber given by the             Defendant / Respondent (First, middle, last name)                                                                              Case Number
  Circuit Clerk.


  In I, if your lawsuit is         1.            Information about the lawsuit:
  for money, enter the
                                                 Amount claimed:      $ in excess of 50,000
  amount of money you
  seek from the
  Defendant/                       2.            Contact information for the Plaintiff/Petitioner:
  Respondent.                                    Name (First, Middle, Last): William H. Beaumont
  In 2, enter your                               Street Address, Apt #: 107 W. Van Buren, Suite 209
  contact information.
                                                 City, State, ZIP: Chicago, IL 60605
  If more than I person
  is bringing this                               Telephone: (773) 831-8000
  lawsuit, attach an                             See attached for additional Plaintiff/Petitioner contact information
  Additional
  Plaintiff/Petitioner
  Contact Information              3.            Contact information for the Defendant/Respondent:
  form.                                          Name (First, Middle, Last): AAA Galvanizing of Peoria, Inc. (agent: CT Corporation)
  I n 3, enter the name of                       Street Address, Apt #: 208 So Lasalle Street, Suite 814
  the person you are
                                                 City, State, ZIP: Chicago, IL 60604
  suing and their
  address.                                       Telephone:
  If more than I person is                       See attached for additional Defendant/Respondent contact information
  being sued. attach an
  Additional
  Defendant/Respondent
  Contact Information
  Ibrm.




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  SU-S 1503.1                                                                                  Page 1 of 4                                                                                                              (09/18)
               Case: 1:21-cv-04890 Document  #:the1-1
                                         Enter        Filed:
                                                   Case      09/15/21
                                                        Number              Circuit Clerk:
                                                               given by the Page     5 of 31 PageID #:13
In 4, the Circuit Clerk   4.    Instructions for person receiving this form (Defendant/Respondent):
will give you the court
                                To respond to this Summons you must:
date or appearance
date, check any boxes                 Go to court:
that apply. and include               On this date:                                at this time:                      121 a.m.         pin
the address ol the
                                      Address:                                                      Court Room:
court building and
room where the                        City, State, ZIP:
Defendant/
Respondent must file            Ei    File a written Appearance and Answer/Response with the court:
their response.
                                      On or before this date:              at this time:                                  a.m.   C:0   p.m.
                                      Address:
                                      City, State, ZIP:

                                VI    File a written Appearance and Answer/Response with the court within 30 days from
                                      the day you receive this Summons (listed below as the "Date of Service").
                                      On this date:                        at this time:                      a.m.   p.m.
                                      Address:
                                      City, State, ZIP:    100 W. Jefferson Street Joliet, IL 60432


        STOP!             Witness this Date:               8/10/2021
The Circuit Clerk will
fill in this section.
                          Clerk of the Court:




        STOP!             This Summons must be served within 30 days of its date, listed above.
The officer or process
server will fill in the
Date of Service.
                          Date of Service:
                                               (Date to be entered by an officer or process server on the copy of this Summons left
                                               with the Defendant/Respondent or other person.)



                          To serve this Summohs, you'must.ture the sheriff(or a private process server outside of Cook County)to
                          deliver it and your Complaint/Petition to the Defendant/Respondent. If the sheriff(or private process
                          server outside of Cook County)tries but can't serve the Summons, fill out another summons and repeat this
 Plaintiff/Petitioner:    process.      •




                          E-Filing is now mandatory for documents in civil cases with limited exemptions To e-file, you must first
                          create an account with an e-fi ling service provider. Visit http://efile.illinoiscoUltS. ov/service-providers.htm
       Atten Lion:
                          to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit
                          http://www.illinoiscourts.gov/faq/gethelp.asp. or talk with your local circuit clerk's office.




SU-S 1503.1                                                     Page 2 of 4                                                            (09/18)
             Case:
     ' This form     1:21-cv-04890
                 is approved            Document
                             by the Illinois Supreme #: 1-1and
                                                     Court  Filed:  09/15/21
                                                               is required to be Page  6 of
                                                                                 accepted    31Illinois
                                                                                          in all PageID     #:14
                                                                                                        Circuit Courts.
                                                                                                       For Court Use Only
          STATE OF ILLINOIS,
           CIRCUIT COURT                         AFFIDAVIT OF SERVICE OF
                                                      SUMMONS AND
   Will                   COUNTY                   COMPLAINT/PETITION

    Instructions
Enter above the
county name where
the case was filed.       John Hancock
Enter your name as         Plaintiff! Petitioner (First, middle, last name)
Plaintiff/Petitioner.
Enter the name of the
person you are suing as    V.
Defendant/Respondent.
Enter the Case            AAA Galvanizing - Peoria, Inc. and AZZ, Inc.
N umber given by the       Defendant! Respondent (First, middle, last name)                            Case Number
Circuit Clerk.


                           **Stop. Do not complete the form. The sheriff will fill in the form.**

DO NOT complete            My name is                                                                         and I swear under oath
this section. The                            First, Middle, Last
sheriff will complete
it.
                           that I served the Summons and Complaint/Petition on the Defendant/Respondent

                                                                                                   as follows:
                           First, Middle, Last

                                0 Personally on the Defendant/Respondent:
                                  Male: ID        Female:    J Approx. Age:                               Hair Color:
                                  Height:             Weight:
                                  On this date:                       at this time:                                     0a.m. 0p.m.
                                  Address:
                                  City, State, ZIP:

                                0 At the Defendant/Respondent's home:
                                  On this date:                      at this time:                                    0a.m.      1=3 p.m.
                                  Address:
                                  City, State, ZIP:
                                  And left it with:
                                                            First, Middle, Last
                                       Male: 0       Female: El         Approx. Age:
                                       and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                       above address on                       , 20

                                       On the Corporation's agent,
                                                                             First, Middle, Last
                                       On this date:                                  at this time:                     1=1 a.m. 111 p.m.
                                       Address:
                                       City, State, ZIP:




SU-S 1503.1                                                        Page 3 of 4                                                      (09/18)
               Case: 1:21-cv-04890 Document #:the1-1
                                         Enter       Filed:
                                                  Case Number09/15/21
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                                                                           Circuit Clerk:

DO NOT complete         By:
this section. The
sheriff, or private
process server will
complete it.            Signature                                    FEES
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                        Print Name                                   Miles:
                                                                     Total    $




SU-S 1503.1                                           Page 4 of 4                                         (09/18)
                                                                                        Andrea Lynn Chasteen
     Case: 1:21-cv-04890 Document #: 1-1 Filed: 09/15/21 Page 8 of 31 PageIDWill
                                                                            #:16 County Circuit Clerk
                                                                Twelfth Judicial Circuit Court
                                                                          Electronically Filed
                                                                              2021L 000612
                                                              Filed Date: 8/10/2021 3:48 PM
                                                                        Envelope: 14383344
            IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT                     Clerk: KJ
                                  WILL COUNTY,ILLINOIS

JOHN HANCOCK,on behalf of himself and               Case No.:
other persons similarly situated,
                                                                2021L 000612

              Plaintiff,
                                                    CLASS ACTION COMPLAINT
V.

AAA GALVANIZING - PEORIA,INC. and
AZZ,INC.,

              Defendants.


       Plaintiff John Hancock files the following Class Action Complaint against Defendants

AAA Galvanizing - Peoria, Inc. and AZZ,Inc.:

                                 NATURE OF THE ACTION

       1.     This is an action by John Hancock ("Plaintiff') on behalf of himself and a class of

similarly situated individuals ("class members") to obtain statutory damages and other equitable

relief under the Illinois Biometric Information Privacy Act("BIPA" or "the Act").

       2.     Plaintiff and class members are subject to the unlawful biometric scanning and

storage practices of the Defendants, AAA Galvanizing - Peoria, Inc. and AZZ,Inc.

       3.     As past and present employees of Defendants, Plaintiff and class members were

required to provide Defendants with their personalized biometric indicators and the bionletric

information derived therefrom ("biometric data"). Specifically, Defendants collect and store their

employees' fingerprints and require their employees to clock-in and clock-out by scanning their

fingerprints into a fingerprint-scanning machine.

       4.     Following the capture of their employees' biometric data, Defendants use this data

to compare the future scans oftheir employees' fingerprints into a punch-clock device. The punch-


                                                      Initial case management set for
                                                1
                                                          11/29/2021 at: 9:00 a.m.
    Case: 1:21-cv-04890 Document #: 1-1 Filed: 09/15/21 Page 9 of 31 PageID #:17



clock device scans each fingerprint and confirms that the employee punching in to work is who

they claim to be. The collection of the punch-clock fingerprint entries is then used to confirm

employees' presence.

       5.      Plaintiff and class members have not been notified where their fingerprints are

being stored, for how long Defendants will keep the fingerprints, and what might happen to this

valuable information.

       6.      The State of Illinois recognized the value and importance of preserving people's

biometric data when it passed the Illinois Biometric Information Privacy Act.

       7.      Unlike other forms of personal identification, such as photo IDs or passwords,

fingerprints are immutable aspects of our bodies. This makes them a promising source of future

identification-related technology, particularly in our increasingly insecure technological world.

       8.      If Defendants insists on collecting and storing their employees' fingerprints,

Defendants must comply with BIPA. This includes (1) notifying employees the practice is taking

place;(2)informing employees of how the practice is implemented;(3)obtaining written consent

from the employees to collect and store their biometric data; (4) maintaining their employees'

biometric data in a sufficiently secure manner; and(5) maintaining a publicly available disclosure

of how the biometric data will be handled and destroyed.

       9.      Unfortunately for Plaintiff and class members, none of these directives were

followed. Accordingly, Plaintiff brings this action on behalf of himself and class members to

obtain statutory damages and injunctive relief for violations of the Illinois Biometric Information

Privacy Act, 740 ILCS § 14/1 et seq.




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                                         JURISDICTION

        10.    This Court has jurisdiction over Defendants because Defendants do business

extensively in Illinois. Furthermore, Defendants' unlawful conduct arose and was perpetuated by

Defendants in Illinois.

                                              VENUE

        1 1.   Venue is proper in this Court because Defendants are doing business and have a

base of operations in Will County. Additionally, Defendants' unlawful conduct arose and was

perpetuated by Defendants while they were located in Will County.

                                             PARTIES

        12.    Plaintiff is a citizen of Illinois and was subject to the same fingerprint-storing

practices as other of Defendants' employees, outlined in further detail below.

        13.    Defendant AAA Galvanizing - Peoria, Inc. is an Illinois-based corporation and

conducts substantial business in the state of Illinois.

        14.    Defendant AZZ,Inc. is the corporate parent of AAA Galvanizing - Peoria, Inc. and

conducts substantial business in the state of Illinois.

        1 5.   Plaintiff worked at AZZ, Inc.'s division AAA Galvanizing - Peoria, Inc. The

conditions of Plaintiffs work environment, including matters pertaining to employee timekeeping

and employee privacy were controlled by Defendants AZZ, Inc. and AAA Galvanizing - Peoria,

Inc.

        16.    Plaintiffs employment file was maintained by both AZZ, Inc. and AAA

Galvanizing - Peoria, Inc.




                                                   3
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                                   FACTUAL ALLEGATIONS

       17.     During the class period Defendants required certain employees to scan their

fingerprints in order to clock in and out at Defendants'jobsites.

       18.     As part of this process, Defendants recorded and stored certain employees'

fingerprint biometrics using fingerprint-scanning computer technology.

       19.     As part ofthis process, Defendants associated employees' biometric data with their

personal identifying information, such as name and address.

       20.     Thus, Defendants caused the biometric data from employees' fingerprints to be

recorded, collected, and stored.

       21.     Defendants did not inform in writing either Plaintiff or class members that their

biometric data was being recorded, obtained, collected, and/or stored.

       22.     Defendants did not inform in writing either Plaintiff or class members the specific

purpose and length of term for which their biometric data would be collected, stored, and/or used.

       23.     Defendants did not obtain Plaintiff's or class members' written consent to record,

collect, obtain, ancUor store Plaintiff and class members' biometric data.

       24.     Defendants did not obtain Plaintiff's or class members' written consent to capture

and store Plaintiff's and class members' biometric data.

       25.     Defendants did not disclose to Plaintiff, class members, or the public its written

retention schedule and guidelines for permanently destroying employee biometric data.

       26.     Defendants did disclose to Plaintiff or class members, in writing, of the specific

purpose and length of term for which it was collecting, storing, and/or using class members'

biometric information.




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       27.     Defendants did not disclose to Plaintiffthe identities ofany third parties with whom

Defendants were directly or indirectly sharing, disclosing, or otherwise disseminating class

members' biometric information.

       28.     Upon information and belief, Defendants are storing their data in a manner less

secure than it stores other similarly sensitive data. Upon information and belief, Defendants store

their employees' social security numbers (along with similar personal data) and confidential

business records on personal computer systems with demonstrably more security than their

fingerprint scanning machines possess. In addition to higher cyber security, Defendants' personal

computer systems are in secure physical locations not as easily accessible to third-parties and

Defendants' employees.

                              CLASS ACTION ALLEGATIONS

       29.     Plaintiff seeks to certify a class action pursuant to 735 ILCS § 5/2-801 on behalf of

the following class:

                 "All individuals whose biometric data Defendants collected or

                 stored in Illinois."

       30.     Class treatment in this case is appropriate because:

              (a) The class is so numerous thatjoinder of all members is impracticable. While the

                   precise number ofclass members has not been determined, Plaintiff is informed

                   and believes that there are sufficiently numerous class members such that

                  joinder in impracticable;

              (b) There are questions of fact or law common to the class, which common

                   questions predominate over any questions affecting only individual members;

                   these common questions oflaw and fact include, without limitation:




                                                 5
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                       i. Whether Defendants collected and recorded class members' biometric

                          data;

                      ii. Whether Defendants obtained any class members' written consent to

                          collect their biometric data;

                      iii. Whether Defendants' conduct violates the BIPA; and

                      iv. Whether Plaintiff and class members are entitled to damages and/or

                           injunctive relief.

              (c) Given the nature of the employer-employment relationship, and the fact that

                   Defendants' employees will likely risk their jobs and/or livelihoods to enforce

                   their rights under the BIPA, members ofthe class will be reluctant to bring forth

                   claims for unpaid wages and notices violations for fear of retaliation;

              (d) The class representative, class members and Defendants have a commonality of

                   interest in the subject matter and remedies sought and the Plaintiff is able to

                   fairly and adequately represent the interest of the class. If individual actions

                   were required to be brought by each member of the class injured or affected,

                   the result would be a multiplicity of actions creating a hardship on the class

                   members, the Defendants and the Court.

              (e) The class action provides a superior method for fairly and efficiently

                   adjudicating this controversy because many class members cannot feasibly

                   vindicate their rights by individual suit because the value oftheir recoveries are

                   outweighed by the burden and expense of litigating against the Defendants.

       31.     Therefore, a class action is an appropriate method for the fair and efficient

adjudication of this lawsuit.




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                                COUNT I
      VIOLATIONS OF ILLINOIS BIOMETRIC INFORMATION PRIVACY ACT
                               (Damages)

       32.     Plaintiff incorporates by reference each of the preceding allegations as though fully

set forth herein.

       33.     Defendants recorded,collected, and stored Plaintiff's and class members' biometric

identifiers and biometric information as defined by 740 ILCS § 14/10 of the Act. Every instance

of Defendants collecting, capturing, storing, and/or sharing Plaintiff's and class members'

biometrics identifiers and biometric information constitutes a violation of the Act.

       .34.    Defendants violated Section 14/15(a) of the Act by failing to develop and/9r make

public a written policy to Plaintiff and class members.

       35.     Defendants violated Section 14/15(b)of the Act by collecting, capturing, obtaining

and storing Plaintiff's and class members' biometric identifiers and/or information without

informing them in writing and obtaining a written release, that:

              (a) The biometric data was being recorded, obtained, collected, or stored; and

              (b) The specific purpose and length ofterm for which the biometric data was being

                    collected, captured, obtained, and/or stored.

       36.     Defendants violated 14/15(e)ofthe Act by failing to store class members biometric

data using the reasonable standard of care within its industry and/or in a manner that is the same

as or more protective than the manner in which they store, transmit, and protect other confidential

and sensitive information.

       37.     Defendants' conduct is at best negligent and at worst reckless.

       38.     Accordingly, Defendants are liable to Plaintiff and class members in the amount of

liquidated damages, or actual damages, whichever is greater. 740 ILCS § 14/20(1).




                                                 7
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                                COUNT II
      VIOLATIONS OF ILLINOIS BIOMETRIC INFORMATION PRIVACY ACT
                            (Injunctive Relief)

       39.     Plaintiff incorporates by reference each of the preceding allegations as though fully

set forth herein.

       40.     The Act provides for injunctive relief. 740 ILCS § 14/20(4).

       4L      Plaintiff and class members are entitled to an order requiring Defendants to make

disclosures consistent with the Act and enjoining further unlawful conduct.

       42.     Plaintiff seeks an order requiring Defendants to publicly disclose a written policy

establishing the specific purpose and length of term for which class members' biometric data has

been collected, stored, and used. Additionally,Plaintiffseeks a disclosure from Defendants relative

to their policy of permanently destroying class members' biometric data. 740 ILCS § 14/15(a).

       43.     Plaintiff seeks an order requiring Defendants to disclose whether Defendants

retained his or any other class members' biometrics, and, if so, when and how such biometrics

were permanently destroyed.

       44.      Plaintiff seeks an order requiring Defendants to disclose to whom it has

disseminated, sold, or transferred Plaintiff's and class members' biometric data.

       45.      Plaintiff seeks an order requiring Defendants to disclose the standard of care that it

employed to store, transmit, and protect class members biometrics.

       46.      Plaintiff seeks an order enjoining Defendants from future violations of the Act.

       47.      Plaintiff and class members do not know what Defendants has done (or intends to

do) with their biometric data. Injunctive relief is necessary to afford Plaintiff and class members

the safety and peace of mind envisioned by the passage of the Act.

                                     PRAYER FOR RELIEF




                                                  8
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   Plaintiff asks the court to enterjudgment in his favor against Defendants and issue an order:

   a. Certifying this case as a class action, naming Plaintiff class representative and his
      counsel as class counsel;

   b. Declaring that Defendants have violated the Illinois Biometric Information Privacy
      Act, and enter a judgment in favor of Plaintiff and the class;

   c. Awarding statutory damages of $5,000 for each willful and/or reckless violation of the
    , Act;

   d. Awarding statutory damages of $1,000 for each negligent violation of the Act;

   e. Awarding injunctive and equitable relief as necessary to protect the interests of the
      Plaintiff and the class;

   f. Awarding punitive damages pursuant to the formula set forth in 820 ILCS § 105/12(a);

   g. Declaring that Defendants' conduct violated the Act;

   h. Awarding reasonable attorneys' fees and costs of this action;

   i. Awarding pre-judgment and post-judgment interest on all monetary amounts awarded
      in this action; and

   j. Awarding such other general and equitable relief as this Court deems equitable and
      just.



                                         Respectfully submitted,

                                         /s/ William H Beaumont

                                         Roberto Luis Costales(#6329085)
                                         William H. Beaumont(#6323256)
                                         BEAUMONT COSTALES LLC
                                         107 W. Van Buren, Suite 209
                                         Chicago, IL 60605
                                         Telephone:(773)831-8000
                                         rlc@beaumontcostales.com
                                         whb@beaumontcostales.com
                                         Attorneysfor Plaintiff




                                            9
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    09/03/2021
                                                                                                    CT Log Number 540189021
TO:         Tara Mackey
            AZZ Incorporated
            3100 W 7th St Ste 500, One Museum Place
            Fort Worth, TX 76107-8701

RE:         Process Served in Texas

FOR:        AZZ Inc. (Domestic State: TX)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  JOHN HANCOCK, on behalf of himself and other persons similarly situated vs. AAA
                                                  GALVANIZING - PEORIA, INC.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 2021L000612
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:                         By Process Server on 09/03/2021 at 12:19
JURISDICTION SERVED :                             Texas
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 09/03/2021, Expected Purge Date:
                                                  09/08/2021

                                                  Image SOP

                                                  Email Notification, Tara Mackey taramackey@azz.com

                                                  Email Notification, Mary Jackson MaryJackson@azz.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  1999 Bryan Street
                                                  Suite 900
                                                  Dallas, TX 75201
                                                  866-665-5799
                                                  SouthTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
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advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
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                                                                                                    Page 1 of 1 / NK
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                            PROCESS SERVER DELIVERY DETAILS




Date:                         Fri, Sep 3, 2021

Server Name:                  Kyle Bowers




Entity Served                 AZZ INC.

Case Number                   2021L000612

Jurisdiction                  TX
                                   6HUYHGE\$OO7H[DV3URFHVV6HUYHU#SP
               Case: 1:21-cv-04890 Document       #: 1-1 Filed: 09/15/21 Page 19 of 31 PageID #:27
          This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
                                                                                                    For Court Use Only
          STATE OF ILLINOIS,
           CIRCUIT COURT
                                                              SUMMONS
   Will                    COUNTY

  Instructions
Enter above the
county name where
the case was filed.        John Hancock
Enter your name as         Plaintiff / Petitioner (First, middle, last name)
Plaintiff/Petitioner.
Enter the names of all
people you are suing as    v.
Defendants/
Respondents.
                           AAA Galvanizing - Peoria, Inc. and AZZ, Inc.                               2021L 000612
Enter the Case
Number given by the        Defendant / Respondent (First, middle, last name)                        Case Number
Circuit Clerk.


In 1, if your lawsuit is        Information about the lawsuit:
for money, enter the
                                  Amount claimed:     $LQH[FHVVRI
amount of money you
seek from the
Defendant/                      Contact information for the Plaintiff/Petitioner:
Respondent.                       Name (First, Middle, Last): William H. Beaumont
In 2, enter your                  Street Address, Apt #: 107 W. Van Buren, Suite 209
contact information.
                                  City, State, ZIP: Chicago, IL 60605
If more than 1 person
is bringing this                  Telephone: (773) 831-8000
lawsuit, attach an                See attached for additional Plaintiff/Petitioner contact information
Additional
Plaintiff/Petitioner
Contact Information             Contact informationforthe Defendant/Respondent:
form.                             Name(First,Middle, Last): AZZ,Inc.FR&7&RUSRUDWLRQ
In 3, enter the name of           Street Address, Apt #:%5<$16767(
the person you are
                                  City, State, ZIP:'$//$67;
suing and their
address.                          Telephone:
If more than 1 person is          See attached for additionalDefendant/Respondentcontact information
being sued, attach an
Additional
Defendant/Respondent
Contact Information
form.




                                     You have been sued.
                                     Follow the instructions on the next page on how to appear/answer.
                                          x    If you do not appear/answer the court may decide the case without hearing from you and
                                               enter a judgment against you for what the plantiff/petitioner is asking.
Important Information for the
person receiving this form:               x    Your written appearance/answer must be filed on time and in the proper form.
                                          x   Forms for a written appearance/answer are available here:
                                              http://www.illinoiscourts.gov/forms/approved/default.asp
                                     If you cannot afford to pay the fee for filing your appearance/answer, ask the circuit clerk for an
                                     application for waiver of court fees.
                                     You should read all of the documents attached.



                                                                                                                 Kyle Bowers
SU-S 1503.1                                                      Page 1 of 4                                                 (09/18)
                                                                                                                 .
                                                                                                                 2021/09/03 12:19:41
               Case: 1:21-cv-04890 Document #: 1-1 Filed: 09/15/21 Page 20 of 31 PageID #:28
                                                      Enter the Case Number given by the Circuit Clerk:_________________________________

In 4, the Circuit Clerk   4.    Instructions for person receiving this form (Defendant/Respondent):
will give you the court
                                To respond to this Summons you must:
date or appearance
date, check any boxes           F Go to court:
that apply, and include              On this date:                        at this time:             F a.m. F p.m.
the address of the
court building and                   Address:                                           Court Room:
room where the                       City, State, ZIP:
Defendant/
Respondent must file
                                F     File a written Appearance and Answer/Response with the court:
their response.
                                      On or before this date:              at this time:                              F a.m. F p.m.
                                      Address:
                                      City, State, ZIP:

                                ✔
                                F     File a written Appearance and Answer/Response with the court within 30 days from
                                      the day you receive this Summons (listed below as the “Date of Service”).
                                      On this date:                         at this time:                 F a.m. F p.m.
                                      Address:
                                      City, State, ZIP: 100 W. Jefferson Street Joliet, IL 60432


          STOP!           Witness this Date:           8/10/2021                                                              Seal
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                                                                                                                                eal
                                                                                                                                 all of Court
The Circuit Clerk will
fill in this section.
                          Clerk of the Court:




        STOP!             This Summons must be served within 30 days of its date, listed above.
The officer or process
server will fill in the
Date of Service.
                          Date of Service:
                                                (Date to be entered by an officer or process server on the copy of this Summons left
                                                with the Defendant/Respondent or other person.)



                          To serve this Summons, you must hire the sheriff (or a private process server outside of Cook County) to
                          deliver it and your Complaint/Petition to the Defendant/Respondent. If the sheriff (or private process
                          server outside of Cook County) tries but can’t serve the Summons, fill out another summons and repeat this
 Plaintiff/Petitioner:    process..




                          E-Filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
                          create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm
       Attention:
                          to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit
                          http://www.illinoiscourts.gov/faq/gethelp.asp. or talk with your local circuit clerk's office.




SU-S 1503.1                                                    Page 2 of 4                                                           (09/18)
               Case: 1:21-cv-04890 Document #: 1-1 Filed: 09/15/21 Page 21 of 31 PageID #:29
          This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
                                                                                                        For Court Use Only
          STATE OF ILLINOIS,
           CIRCUIT COURT                          AFFIDAVIT OF SERVICE OF
                                                       SUMMONS AND
   Will                    COUNTY                   COMPLAINT/PETITION

    Instructions
Enter above the
county name where
the case was filed.       John Hancock
Enter your name as         Plaintiff / Petitioner (First, middle, last name)
Plaintiff/Petitioner.
Enter the name of the
person you are suing as    v.
Defendant/Respondent.
Enter the Case            AAA Galvanizing - Peoria, Inc. and AZZ, Inc.
Number given by the        Defendant / Respondent (First, middle, last name)                            Case Number
Circuit Clerk.


                           **Stop. Do not complete the form. The sheriff will fill in the form.**

DO NOT complete            My name is                                                                          and I swear under oath
this section. The                             First, Middle, Last
sheriff will complete
it.
                           that I served the Summons and Complaint/Petition on the Defendant/Respondent

                                                                                                    as follows:
                           First, Middle, Last

                                 F     Personally on the Defendant/Respondent:
                                       Male: F        Female: F Approx. Age:                               Hair Color:
                                       Height:            Weight:
                                       On this date:                                   at this time:                     F a.m. F p.m.
                                       Address:
                                       City, State, ZIP:

                                 F     At the Defendant/Respondent’s home:
                                       On this date:                       at this time:                                 F a.m. F p.m.
                                       Address:
                                       City, State, ZIP:
                                       And left it with:
                                                             First, Middle, Last
                                       Male: F       Female: F          Approx. Age:
                                       and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                       above address on                       , 20            .

                                 F     On the Corporation’s agent,
                                                                              First, Middle, Last
                                       On this date:                                   at this time:                     F a.m. F p.m.
                                       Address:
                                       City, State, ZIP:




SU-S 1503.1                                                         Page 3 of 4                                                    (09/18)
              Case: 1:21-cv-04890 Document #: 1-1 Filed: 09/15/21 Page 22 of 31 PageID #:30
                                          Enter the Case Number given by the Circuit Clerk:_________________________________

DO NOT complete
.
                       By:
this section. The
sheriff, or private
process server will
complete it.           Signature                                     FEES
                                                                     By certified/registered        $
                                                                     Service and Return             $
                       Print Name                                    Miles:                         $
                                                                     Total     $




SU-S 1503.1                                       Page 4 of 4                                                        (09/18)
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                                                                              #:31 Lynn Chasteen
                                                                     Will County Circuit Clerk
                                                                 Twelfth Judicial Circuit Court
                                                                           Electronically Filed
                                                                               2021L 000612
                                                               Filed Date: 8/10/2021 3:48 PM
                                                                         Envelope: 14383344
             IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                                                                                     Clerk: KJ
                                  WILL COUNTY, ILLINOIS

JOHN HANCOCK, on behalf of himself and              Case No.:
other persons similarly situated,                               2021L 000612

               Plaintiff,
                                                    CLASS ACTION COMPLAINT
v.

AAA GALVANIZING - PEORIA, INC. and
AZZ, INC.,

               Defendants.


        Plaintiff John Hancock files the following Class Action Complaint against Defendants

AAA Galvanizing - Peoria, Inc. and AZZ, Inc.:

                                 NATURE OF THE ACTION

        1.     This is an action by John Hancock (“Plaintiff”) on behalf of himself and a class of

similarly situated individuals (“class members”) to obtain statutory damages and other equitable

relief under the Illinois Biometric Information Privacy Act (“BIPA” or “the Act”).

        2.     Plaintiff and class members are subject to the unlawful biometric scanning and

storage practices of the Defendants, AAA Galvanizing - Peoria, Inc. and AZZ, Inc.

        3.     As past and present employees of Defendants, Plaintiff and class members were

required to provide Defendants with their personalized biometric indicators and the biometric

information derived therefrom (“biometric data”). Specifically, Defendants collect and store their

employees’ fingerprints and require their employees to clock-in and clock-out by scanning their

fingerprints into a fingerprint-scanning machine.

        4.     Following the capture of their employees’ biometric data, Defendants use this data

to compare the future scans of their employees’ fingerprints into a punch-clock device. The punch-


                                                1
                                                          11/29/2021              9:00
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clock device scans each fingerprint and confirms that the employee punching in to work is who

they claim to be. The collection of the punch-clock fingerprint entries is then used to confirm

employees’ presence.

       5.      Plaintiff and class members have not been notified where their fingerprints are

being stored, for how long Defendants will keep the fingerprints, and what might happen to this

valuable information.

       6.      The State of Illinois recognized the value and importance of preserving people’s

biometric data when it passed the Illinois Biometric Information Privacy Act.

       7.      Unlike other forms of personal identification, such as photo IDs or passwords,

fingerprints are immutable aspects of our bodies. This makes them a promising source of future

identification-related technology, particularly in our increasingly insecure technological world.

       8.      If Defendants insists on collecting and storing their employees’ fingerprints,

Defendants must comply with BIPA. This includes (1) notifying employees the practice is taking

place; (2) informing employees of how the practice is implemented; (3) obtaining written consent

from the employees to collect and store their biometric data; (4) maintaining their employees’

biometric data in a sufficiently secure manner; and (5) maintaining a publicly available disclosure

of how the biometric data will be handled and destroyed.

       9.      Unfortunately for Plaintiff and class members, none of these directives were

followed. Accordingly, Plaintiff brings this action on behalf of himself and class members to

obtain statutory damages and injunctive relief for violations of the Illinois Biometric Information

Privacy Act, 740 ILCS § 14/1 et seq.




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                                          JURISDICTION

       10.     This Court has jurisdiction over Defendants because Defendants do business

extensively in Illinois. Furthermore, Defendants’ unlawful conduct arose and was perpetuated by

Defendants in Illinois.

                                               VENUE

       11.     Venue is proper in this Court because Defendants are doing business and have a

base of operations in Will County. Additionally, Defendants’ unlawful conduct arose and was

perpetuated by Defendants while they were located in Will County.

                                             PARTIES

       12.     Plaintiff is a citizen of Illinois and was subject to the same fingerprint-storing

practices as other of Defendants’ employees, outlined in further detail below.

       13.     Defendant AAA Galvanizing - Peoria, Inc. is an Illinois-based corporation and

conducts substantial business in the state of Illinois.

       14.     Defendant AZZ, Inc. is the corporate parent of AAA Galvanizing - Peoria, Inc. and

conducts substantial business in the state of Illinois.

       15.     Plaintiff worked at AZZ, Inc.’s division AAA Galvanizing - Peoria, Inc. The

conditions of Plaintiff’s work environment, including matters pertaining to employee timekeeping

and employee privacy were controlled by Defendants AZZ, Inc. and AAA Galvanizing - Peoria,

Inc.

       16.     Plaintiff’s employment file was maintained by both AZZ, Inc. and AAA

Galvanizing - Peoria, Inc.




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                                   FACTUAL ALLEGATIONS

       17.     During the class period Defendants required certain employees to scan their

fingerprints in order to clock in and out at Defendants’ jobsites.

       18.     As part of this process, Defendants recorded and stored certain employees’

fingerprint biometrics using fingerprint-scanning computer technology.

       19.      As part of this process, Defendants associated employees’ biometric data with their

personal identifying information, such as name and address.

       20.     Thus, Defendants caused the biometric data from employees’ fingerprints to be

recorded, collected, and stored.

       21.     Defendants did not inform in writing either Plaintiff or class members that their

biometric data was being recorded, obtained, collected, and/or stored.

       22.     Defendants did not inform in writing either Plaintiff or class members the specific

purpose and length of term for which their biometric data would be collected, stored, and/or used.

       23.     Defendants did not obtain Plaintiff’s or class members’ written consent to record,

collect, obtain, and/or store Plaintiff and class members’ biometric data.

       24.     Defendants did not obtain Plaintiff’s or class members’ written consent to capture

and store Plaintiff’s and class members’ biometric data.

       25.     Defendants did not disclose to Plaintiff, class members, or the public its written

retention schedule and guidelines for permanently destroying employee biometric data.

       26.     Defendants did disclose to Plaintiff or class members, in writing, of the specific

purpose and length of term for which it was collecting, storing, and/or using class members’

biometric information.




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       27.     Defendants did not disclose to Plaintiff the identities of any third parties with whom

Defendants were directly or indirectly sharing, disclosing, or otherwise disseminating class

members’ biometric information.

       28.     Upon information and belief, Defendants are storing their data in a manner less

secure than it stores other similarly sensitive data. Upon information and belief, Defendants store

their employees’ social security numbers (along with similar personal data) and confidential

business records on personal computer systems with demonstrably more security than their

fingerprint scanning machines possess. In addition to higher cyber security, Defendants’ personal

computer systems are in secure physical locations not as easily accessible to third-parties and

Defendants’ employees.

                              CLASS ACTION ALLEGATIONS

       29.     Plaintiff seeks to certify a class action pursuant to 735 ILCS § 5/2-801 on behalf of

the following class:

                  “All individuals whose biometric data Defendants collected or

                  stored in Illinois.”

       30.     Class treatment in this case is appropriate because:

               (a) The class is so numerous that joinder of all members is impracticable. While the

                   precise number of class members has not been determined, Plaintiff is informed

                   and believes that there are sufficiently numerous class members such that

                   joinder in impracticable;

               (b) There are questions of fact or law common to the class, which common

                   questions predominate over any questions affecting only individual members;

                   these common questions of law and fact include, without limitation:




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                        i. Whether Defendants collected and recorded class members’ biometric

                           data;

                       ii. Whether Defendants obtained any class members’ written consent to

                           collect their biometric data;

                      iii. Whether Defendants’ conduct violates the BIPA; and

                      iv. Whether Plaintiff and class members are entitled to damages and/or

                           injunctive relief.

               (c) Given the nature of the employer-employment relationship, and the fact that

                   Defendants’ employees will likely risk their jobs and/or livelihoods to enforce

                   their rights under the BIPA, members of the class will be reluctant to bring forth

                   claims for unpaid wages and notices violations for fear of retaliation;

               (d) The class representative, class members and Defendants have a commonality of

                   interest in the subject matter and remedies sought and the Plaintiff is able to

                   fairly and adequately represent the interest of the class. If individual actions

                   were required to be brought by each member of the class injured or affected,

                   the result would be a multiplicity of actions creating a hardship on the class

                   members, the Defendants and the Court.

               (e) The class action provides a superior method for fairly and efficiently

                   adjudicating this controversy because many class members cannot feasibly

                   vindicate their rights by individual suit because the value of their recoveries are

                   outweighed by the burden and expense of litigating against the Defendants.

       31.     Therefore, a class action is an appropriate method for the fair and efficient

adjudication of this lawsuit.




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                                COUNT I
      VIOLATIONS OF ILLINOIS BIOMETRIC INFORMATION PRIVACY ACT
                                (Damages)

        32.     Plaintiff incorporates by reference each of the preceding allegations as though fully

set forth herein.

        33.     Defendants recorded, collected, and stored Plaintiff’s and class members’ biometric

identifiers and biometric information as defined by 740 ILCS § 14/10 of the Act. Every instance

of Defendants collecting, capturing, storing, and/or sharing Plaintiff’s and class members’

biometrics identifiers and biometric information constitutes a violation of the Act.

        34.     Defendants violated Section 14/15(a) of the Act by failing to develop and/or make

public a written policy to Plaintiff and class members.

        35.     Defendants violated Section 14/15(b) of the Act by collecting, capturing, obtaining

and storing Plaintiff’s and class members’ biometric identifiers and/or information without

informing them in writing and obtaining a written release, that:

                (a) The biometric data was being recorded, obtained, collected, or stored; and

                (b) The specific purpose and length of term for which the biometric data was being

                    collected, captured, obtained, and/or stored.

        36.     Defendants violated 14/15(e) of the Act by failing to store class members biometric

data using the reasonable standard of care within its industry and/or in a manner that is the same

as or more protective than the manner in which they store, transmit, and protect other confidential

and sensitive information.

        37.     Defendants’ conduct is at best negligent and at worst reckless.

        38.     Accordingly, Defendants are liable to Plaintiff and class members in the amount of

liquidated damages, or actual damages, whichever is greater. 740 ILCS § 14/20(1).




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                                 COUNT II
      VIOLATIONS OF ILLINOIS BIOMETRIC INFORMATION PRIVACY ACT
                             (Injunctive Relief)

        39.     Plaintiff incorporates by reference each of the preceding allegations as though fully

set forth herein.

        40.     The Act provides for injunctive relief. 740 ILCS § 14/20(4).

        41.     Plaintiff and class members are entitled to an order requiring Defendants to make

disclosures consistent with the Act and enjoining further unlawful conduct.

        42.     Plaintiff seeks an order requiring Defendants to publicly disclose a written policy

establishing the specific purpose and length of term for which class members’ biometric data has

been collected, stored, and used. Additionally, Plaintiff seeks a disclosure from Defendants relative

to their policy of permanently destroying class members’ biometric data. 740 ILCS § 14/15(a).

        43.     Plaintiff seeks an order requiring Defendants to disclose whether Defendants

retained his or any other class members’ biometrics, and, if so, when and how such biometrics

were permanently destroyed.

        44.     Plaintiff seeks an order requiring Defendants to disclose to whom it has

disseminated, sold, or transferred Plaintiff’s and class members’ biometric data.

        45.     Plaintiff seeks an order requiring Defendants to disclose the standard of care that it

employed to store, transmit, and protect class members biometrics.

        46.     Plaintiff seeks an order enjoining Defendants from future violations of the Act.

        47.     Plaintiff and class members do not know what Defendants has done (or intends to

do) with their biometric data. Injunctive relief is necessary to afford Plaintiff and class members

the safety and peace of mind envisioned by the passage of the Act.

                                     PRAYER FOR RELIEF




                                                  8
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   Plaintiff asks the court to enter judgment in his favor against Defendants and issue an order:

   a. Certifying this case as a class action, naming Plaintiff class representative and his
      counsel as class counsel;

   b. Declaring that Defendants have violated the Illinois Biometric Information Privacy
      Act, and enter a judgment in favor of Plaintiff and the class;

   c. Awarding statutory damages of $5,000 for each willful and/or reckless violation of the
      Act;

   d. Awarding statutory damages of $1,000 for each negligent violation of the Act;

   e. Awarding injunctive and equitable relief as necessary to protect the interests of the
      Plaintiff and the class;

   f. Awarding punitive damages pursuant to the formula set forth in 820 ILCS § 105/12(a);

   g. Declaring that Defendants’ conduct violated the Act;

   h. Awarding reasonable attorneys’ fees and costs of this action;

   i. Awarding pre-judgment and post-judgment interest on all monetary amounts awarded
      in this action; and

   j. Awarding such other general and equitable relief as this Court deems equitable and
      just.



                                          Respectfully submitted,

                                          /s/ William H. Beaumont
                                          ___________________________
                                          Roberto Luis Costales (#6329085)
                                          William H. Beaumont (#6323256)
                                          BEAUMONT COSTALES LLC
                                          107 W. Van Buren, Suite 209
                                          Chicago, IL 60605
                                          Telephone: (773) 831-8000
                                          rlc@beaumontcostales.com
                                          whb@beaumontcostales.com
                                          Attorneys for Plaintiff




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